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                                                                                1

(
     1                        STATE OF lilARYLAt{D
     2       IN TEE CIRCT'IT   C1?I'RT FOR         THE COT'NTY OF BAIJTIMORE
     3    STATE OF   UARYIfi\ID                      )

     4)
     5               vs                              )    Case Number K-15-7125
     6)
     ?    TYRONE   CAUPBEI,I,                        )

     8)
     9                                             . ) uay Lo,     20L5
    10                      TRANSCRIPT OF PROCBEDINGS

    11                                (EXCERPT) .

    L2

    13    BEFORE:     THE HO\IORABITB SHERRIE             R. BAILEY, ifudge
    L4                                         '               (and   a jury)
    15    APPEARANCES:

    16                 ON BEIIAIIF OF TfiE STATE;

    L7                    DANIEIJ   B.   TRIMBIJE, ESQ.
    r.8                   EPH&AIM    SIFA,         ESQ.

    19                 ON BEHAIJF OF THE DEFENDATIT            :


    20                    OUINCY    Cl)IJElt   AN,   BSQ.

    2L

    22    Transcrlbed by:
    23    Room 403
    24    401 BosLey Avenue
    25    Tow6on, Maryland 2]-204
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                                                                2


     1                             (EXCERPT)

     2                (wLtnesE sworn)
     3   whereupon,
     4                            TROY SMITH,

     5   a wiUneaa called by the etate, after belng duly Eworn,
     5   wag examlned ae followg:
     7             THE CTERK: Pleage be seatsed. For Ehe
     8   record, please ggatse your name.
     9                ?IIE WITIIBSS: Troy Smith.
    10                         DIREET EXN'! INATION

    11   BY !,1R. TRIIttsLE:
    L2          a.      mornlng, Mr. Smith. Mr. SmiE,h, I am
                      Giood

    13   going co ask you Eo speak aE clearLy as you can LnEo
    14   E.he                     for che record but also for
                mLcrophone, not only
    15 the ladieg and gentlemen of Ehe Jury.

    16      A. Ye6, sir.
    t7      A. Can you do t.hat for me?
    18      A. Yee, sir.
    19      O. Thank you.
    20           ttlr. smlch, are you f rom Balcimore?
    2t      A. YeE, eir.
    22      O, . Are you currently llvlng in Baltsimore?
    23      A. No, sir.
    24      O. IE. ls my undersEanding -- it le mY
    25   underetanding you are 1n federaL cugtodyi LE that

(
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                                                            3


 1   correct?
 2      A. YeE, slr.
 3      O. why ls Ehal,?
 4      A. I had a RICO charge. The government, indict,ed
 5 me ln 2008.
 6      O. And are you servl-ng tLme at E.his point?
 7      A. . Yes, Elr.
 8      O. Hor, Long are you Berving?
 9      A. 25 years.
10      a, Irlhen you l lved in Balr.lmore - - weI1, fet me
11 aek you, were you born In Baltlmore?
12      A. I was born ln Bal.Eimore Clty.
13      O. And until your current custody Eituat,ion, did
t4 you al$rayg llve in Baltlmore?
15      A. Yes, slr.
16      A. Whereabouta did you live?
L7      A. I live with nqr ex-fiancee in Eaet Rock
18   aparEment€, tsownhoneg l-n East Rock.
19        O. where Ia Ehat, sLr?
20       A. It'e off of Marlyn. It's in Esgex'
21       O. Here in Balllmore county?
22        A. Yes, elr.
23        O. And when dld you IIve there?
24        A. I lived tshere in, I belleve I lived tshere
25   probably from 2004, I lived Ehere Eo 2006 or 2007,
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                                                                               4


     L    2007.
                     0,    About. how   old were you   Ehen?

     3               A.    Probably about 22, 23.
     4               O.    When you were residing Chere around 2004                t,o
          2006, you said, were you familiar with ot.her residenEs
     5    of the EasE Rock area?
     7         A. Ye6, I wag real familiar $rith t.hem, My
     8    moEher -- my bad. My mother had lived there aince '99,
     9    so f also lived Ehere wiEh my mot.her before I l"ived
L0        Ehere wiEh my ex-fiancee.
l"   i,              a.    when you     lived there,   who   did you hang ouE
r2        wiEh?
13             A.           I hung out with individuals        E.haE,   basically
L4        lived in        .Ehe area of East. Rock,
1"5            A.          Dld you know    DeBmond   Tunstall?
15             A.          Ye6, I know Dez.
L7             O,          And did you know his brothers?
18             A.          I   knew   all his broLhers, even Ehe one that
19        died   .


20                   A,    And whaE are Eheir names?
2t                   His youngest brother is Turt.l-e. I know him
                     A.
22        by nickname. I don't know first name. And Dez is the
23        middle baby. then it.'s Dorrell, then iE was Dominick
24        was tshe oldest brother died from a aneurigm.
25              O. Nor..r, did you know other people in East Rock?
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                                                               5


 1          A.    Yes. I know a lot of people in East. Rock. I
     knew   --
 3          O.    Did you k4ow an Atkene Bain?
 4          A.    What.   is his     nickname?
 5          O,    Did you know a         man named .7atr?
 6          A.    Yes   , I   knew Jah   . I    knew Jah   .


 7          A.    Did you know an AnEhony Fortune?
 o          A,    Whab's      hie   nickname?
 9          O.    Caprice.
10          A.    Yes, I know Caprice.
11          O.    How    is it that you knew all these
L2   individuaf   s?

L3        A. WelI, I knew-- we1l, basically, al,I ue,
t4 basically hung around EasE Rock, I knew Caprice from
15 when he was in middle gchool . Him and my baby mot.her

L5 littIe   brother was cloge before he came up Eo high
L7 schoof, and I went to high school with Caprice. ,fah,

18 it was a guy tshaE came around in the summer that
19 Caprice incroduced baeically his friend. I can't

20 remember if they reLatives or noE, buE I believe so.

2L            . But he inEroduced him, and he jusE hung
22   around, and you knovr, he jusL wae around there, You
23   know, doing t.een-age etuff, you know, dudes drlnking,
24   smoking, you know sEuff like EhaE, normal stuff.
25       O. Do you remember where Jah came from,
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                                                               6


 1    cit.y-wise I mean?
             A. No, I don't remember, I think it. is New York
 3    Ehough, I believe it's New York.
 4           O. Now, how close were you wiLh these
 5    individuals?
 5           A. -WelI. I wae t.he cloBest with Dez, because I
 7    knerr, Dez since -- weII, I knew hie brother and him
 8    since middle school, since t,he sixth grade. Me and
 9    Dez, one of his ol-der brot.hers, Dorre}l, we play Mount
L0    Carmel basketsball tsoget.her   at sEembridge, ao I   knew him
1l- awfully weIl, and I knew Dez and, you know, Turt.Ie like
L2  Ehat, and I used Eo see Caprice when he come around,
13 and I used Eo give him liEtle pointers.

L4            I believe his elevenEh grade year was my
15 senior year, and tshey moved him up to play vargity

16 baskecball witsh ua, so you know, pretEy much Ehroughout

t7 Ehe pLaying basketball, the basketball courEs, things
18 Like that, I seen t.hem riding around, messing with

l-9 girls   .


20            And I t.hink me and Caprice mess with--r mess
2L one of the older sisters of a female he mess with on6

22 of tshe younger aisEers, so I prett.y much know him well '

23        O. Now, Living in East Rock. were you familiar
24 wiE.h the neighborhood of Cove Village?

25        A. Yes. sir.
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                                                            7


 1        0, And were you familiar wiEh individuals who
 2   lived in Cove Village?
 3        A. YeE, Elr.
 4        O. Do you remember anyone particular livtng ln
 5   Cove   Village?
 6          A.  Yes. r remember a couple indlvldualg. rt
 7   was Justs }lke a rival beef when I moved E,o East Rock.
 8   It was JusE a beef beEween two neighborhoods that, you
 9   know, Lts dled dorpn, Sonet imes its'6 a real high beef.
10   I mean, it's active, and someE.Lmes it'B not.
11              So I pretty much know Lndividuals chat, don't.
L2   1l-ke me and individualg who do lLke me.
13         O. 'Do you remember Darryl BoIIing?
14         A. YeE, I belleve h1e nlckname lE Dee.
15          A.   Yea,   Dee   '
16          A,   Yes.
L7          O.   Do you remember him?
18          A,   Ye6, of course, I would know him by sEreetsg
t9 by nicknameg, Dee, yeG,, Elr.
20      O. And was he from cove vlllage?
2L          A.   YeE, he was from Cove Village.
22          a.   Do you remember anybody who had   a nickname of
23   Deuce?

24      A. Deuce, Deuce, Deuce, Deuce, I heard the
25   name, I can't puts the face wlth iE, but I remember        Ehe
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                                                                       I

 L    name. I       remember Ehe nickname.
         A.          Do you remember anybody        else from   Cove

 3    Village   ?

 4         A. A lot, Some dudes. like its wae a dude, Dee,
 5    hie right hand man, he used t.o hang wiEh real tough. T
 5    remember him because he wenE Eo high achool . He waa
 7    really coo1, my baby mot.her liEtle broEher. r believe
 tt   they used Eo caf I him - - I.Ihats lhey used t.o caLl" him? I
 9    can'E remernber the name, buE I remember him by face
10    Ehough, but. I remember his name, buE I remember iE's
11    Ray Amando (phonetic).
t2         A.        How   close are   EaEE.   Rock and Cove Village?
13         A. I would say maybe like seven blocks,
14  eomething like t.haE. It's noE Ehat far. It.'s just
15  like, if you come from out of EasL Rock, you go up the
1,6 street, just like you go over the bridge, It's jusE
!7 baeically a couple blocks and Ehe bridge thaE preLEy
18 much separaEe East Rock from cove village, but it.'s up

19 Ehe streeE. though. It is not a long ways,

20       O. You said earlier EhaE there was a hots and
21 cold running beef beLween Ehe neighborhoods?

22       A. Yes. I say it mighE be a individual beef.
23 where iE may be someone who ie beefing with somebody

24 from Ea6t Rock and cove Village be beefing, and one of

25 the old heads, o1d heads from Cove vilLage would like
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                                                             9


 1    see me or one of my friend's in tshe barber shop or
 2    maybe car waeh or in the club and jusE ask could we
 3    squash the beef.
 4              And then we wiLl Ealk Eo the dudes who was
 5    beefing in the neighborhood and te1l them to squash the
 6    beef, and t.hats's usually how iE dies down. But then
 7    someEhing would happen and then the beef be live again
 6    beEween Lhe Ewo neighborhoode.
           a. When folks from EasE Rock or folks from Cove
10    Village wanted Lo liven up Ehe beef, how would E.hey
l-1   Eravel back and forEh?
1_2        A.    Say Ehat   again.   You say  liven up the beef?
13         A.    well, in a period   when   iE was I guess hot and
a4    heavy- -
t-5        A.    Yes.
16         O. -- how would folks get back and forEh?
L7         A. I mean, Ehey woufd walk. sometimes some
18 people would drive, you know,

t9      O,   okay. And how r,.rere Ehe beef s handled?
20      A. IE's always wit.h violence. It ia never ende
2L untit iE come Eo a point where one of the old heads

22 would wanE to talk, but it is always vTiEh violence ' IE
,L ie never like nothing Ehat, you know, thats's Ehe onLy
24 way Ehe beef is.   That's what beef is, wiEh violence.
25      O, Do you remember a Eime when Ehe individual
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                                                                             10


 1    you knew as Turtle vraa in some way either robbed or
 ?,   atstsacked?
 3     A.            Yes, I remember that,
 4     0.           And around when was thaE?
 5     A.           We1l,, its $ras   in 2004. It was in the night
 5 Eime. I          remember EhaE.
 7     O.           it in the eummer?
                    Was
 I     A,       Yes, it was summer time.
 9     O.       Do you remember any particular montsh?
10     A.       No. I can't remember Ehe parEicular month. I
11    can'E remember Ehe particular monEh, but I know iE waa
t2    summer Eime 2004 bhough.
13          O,       Do you knovr wheEher         it   was towards   L.he

'L4   beginning or towarda the             end?

15          A,       I couldn'E      geE   it Ehat accurate, bu! I          would
16    say maybe Eowards Ehe end.
L7          O.       Okay.      Now, what    if anyUhing do you know
t8    occurred because of that?
r,9         A.       I  that-- I believe I wae going Eo see my
                         know
20    grandmother at night. t.ime, and I was going Eo say good
2L    bye for the night, becauee she got diabeEes, and my
      uncle l-ives with her, buE r always check in on her,
23    jusE because.
24                   And  pulling up, and I seen Dez and --
                           I   was
25    Dez ouE front outside of this girl house, Ehi6 girl
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                                                                         11

 1 named Skittle'E house, and he told me he $rantsed tso
 2 holler at me.
 3            So when I got out Ehe car, f came and Eal,k tso
 4 hlm, whatever, and he baelcally tsold me tshe Cove
 5 village- -
 5            UR. COLEMAN 3 obj ect,lon.
 7                 TIIE COI]RT: SuEEalned.
 I    BY MR.    TRIMBIJE   3




 9         O.      Without Eelllng t,he courE or the jury           Ehe

10    words you heard- -
11         A.      RlghE.
L2         O.      -- did you      come   to   undergtsand Ehat eomething
13    had occurred wlEh Turtle?
14         A,      YEg.

15                 The gnry, Dee from Cove         Village tried   E,o   rob
16    TurEle.
L?         O,      Did you      come   to underEtand that   E.here wag a
r.8   regponBe?
19         A. 'Yes, lt $rag a respon8e. Its vra8, Ehey
20    retallated.
2L          A. lrlhen you received Ehie information from Dez,
22    t ho Yraa there?
23         A.      It   waE    Dez, its waE Turtle, it wae ilah and it
24    vras caPrice.
25         O.      Do you remember seelng anyone eLee Ehere?
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                                                                        12


(    1           A.      No.
     2           A.      Do you renEmhr   talking about     anotsher
     3    indl-v1dua1?
     4           A.      Yea, we Ealked abouts another individual, a
     5    dude named Ty.
     5           O.      Okay, And do you see that pergon he?e         Eoday?
     7           A.      Yea.
     8           O.      Now, hotu dld you know Ty?
     9           A.      I   know him through   Dez.   Dez inEroduced me Eo
    10    him.
    1t           O.      Ifae he a regular person Eo hang Ln or around
    !2 East      Rock?
    13           A.      l{o. He'E from Fontana vi1lage,       He   is not
    1.4   from EaEt Rock.
    15         O. ' WeII, where la FonEana Village?
    16           A.           Village 1g-- How can I explain iE?
                         Fontana
    17    It'E across from Giolden Ring ualI, Eo iE'E a lit.tle
    18    rf,ays Ehan Cove Village would be from EaEt Rock.
    19           a. IIow would people from Fontsana vlllage come to
    20    know people from Eaat Rock?
    2L           A.  IfeI1, they came. BaEically, they came to
    22    know us t.hrough Dez, becauBe Dez aEarEed hanging in
    23    Fontana VLIIage.
    24           O.      Did you see Dez In Fontana vil'lage?
    25           A.      Yes, I seen hlm there before.
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                                                                             13


("    1.          a,         often had you Eeen Ty?
                           And how
       2          A.I aeen hlm twice in Basts Rock.
       3          A.Now, dld you do anyEhlng with the informaEion
       4 E.haE you got from Dez tshat nlghts?

       5       A. I aln'E-- no, I ain't done nothlng, I mean,
       5 I heard its, and I knew about it, buts that. waE one of
       7 tshose things you take Eo Ehe grave. f didn'ts do
       I notshing elee rrLEh it.
       9       O. so tshat wa€ back in '04, and you didn't EaIk
     10 to Ehe pollce or anyone else about, it?

     11        A. . No,
     12             About about thaE irne in nqr life, I wae
                                              E.



     13 Ilvlng by Ehe creed of the st.reet,s, so I definitely

     14 wouldn'ts have tsalked Eo Ehe police.

     l_5       A. Dld there come a tsime lthen you gots in tsouch
     L6 nlEh Baltlmore ClEy and Baltimore County detectives In

     r7 regarde to lnformatlon that you knew. such as Ehis
     18    informatsion?
     19               A, Yea, aLr.
     20               O. And when Yraa that?
     2L               A. That wag May of 2015 I belleve.
     22               O. . okay. Could iE have been Prior Eo Ehat?
     23               A. No! -- I don't remember. I dorr'E remember
     24    that   .

     25               O.   Abouts how many   tlmee did you   meeE,   with   tshe
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                                                                           14


(    1   detecEiveg? Do you know?
     2        A, A fe!r, maybe like four or five times,
     3           O,      And aL1 thoee meetsingg were   not in      May   of
     4   '   15, lrere   tshey?

     5           A.      No, no. Thats's rrhen I reached     ouE,   to   them.
     5           A.      Okay.
     7           A.      Yes.
     I           A.      So those meeEingB apread outs over a period of
     9   time?
    10           A.      Yeg, Epread outs over a perlod of time. I
    11   betieve tshe firs! time they came wag Novembet 2015, I
    L2   believe.
    13        O. Are you sure of the year?
    14        A. YeE, I belleve iE r,{as '15. It was 2015.
    15           O.      okay.
    L6        A. oh, ng, no, no, no, lt, wae -- Damn. wag iE?
    L7   No, Lt waa '13. My bad. lty bad. IE, was 2013. IE was
    18   2013,
    19           O.      So thaE vraa abouts Ehe   firsts time you met with
    20   them?
    2L           A.      YEE.

    22           O,      And then    af,ter that, there was a aerieE of
    23   meet   ingg?
    24           A.      Yea, air.
    25           O,      Dld they    Ehow You Photographs?
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                                                            1,5


 1        A.    Yes, they showed me photographg.
 2        A,    And   did you have an opportsunlEy to identify
 3   people?
 4       A. Yes, sir.
 5        O. In regarda to the perEon named fy, did you
 6   identify a photograph of ry?
 7       A. Yes, slr.
 I        O. And do you remember whaE meet,ing tshat waE at?
 9        A, I belleve that was the lasE one.
10           . MR. TRIMBITE: Your Honor, I am going to-- if
11   I could al4)roach the wltneas.
L2             TtlE COIJRT r You may,
13   BY MR. TRIMBI-IE:
L4        O. . I am going tso show you whaE hae been marked
15   for Etate's identiflcatlon or for identlflcaEion a6
15   Etate'E number 23.
17              Do you recognlze Ehie document   ?

18        A.    Yee, elr.
19        0.    okay, Firgt of all, can you teIl us just
20   generally what Ehe document ls?
2L        A. It's a photograph of Ty.
22        O. Okay. On lhl,s, there are -- Ehere 16 a
23   pJ.cture, obvlously, lhe photsograph, and Ehere 18 some
24   wrltlng.
25         A.   Right.
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                                                              16


 1        O. Can you ldents1fy the writlng?
 2        A. The firEt wrltlng is my wrlting, and I
 3   believe that Ls the det,ect,ive's writing.
 4        O. By Ehe firat wrltj.ng, you mean Ehe writing on
 5   the lefE, the handwrit,ing on Ehe left?.
 6        A. Yeg, sir.
 7        a. And the second l,rltlng is the wrltlng on the
 8   righE?
 9     A. Yeg, sir.
t0     O. ' Okay, At Ehe top, there iE a word and sone
11 numbers. What ig thaE?
L2     A. IE Ba)r6 Ty, 3-4-15.
13     O. And Ehen tshe Eecond Line down would be?
L4     A. Would be my slgning, ny sigxrature again, Troy
15   smith.
t6        O. okay. on the other slde, there Ls some more
t7 numbers,
18        A. YeE. It saya 9:23 a.m.
19        O. And lhen Ehere is two signatsures; ie that
20   correct?
2t        A, . Yes, elr,
22        a. gaE this photograPh      changed   in   any way, shape
23   or form sl,nce you identlfied iE?
24        A, No, it's tshe exacE one.
25        O, When you were Presented thiE photograph,          do
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                                                                                   t7

 1    you remernber if you were presented tso its this way, so
 2    that you didn't see Ehe bottom of the fold?
 3         A. Yes, it definitely-- iE definitsely didn'c
 4    have no names on it.  IE jusE was like this with his
 5    face.
 6              O.     Thank you.
 7                     MR. TRIMBL,E:    I   am   going   L.o of f er   this    as

 8    state's        number 23, Your Honor.
 9                     MR. COL,EMAN: No obj ection.
10                     THE CoURT: SEaEe's        exhibit    number 23         is
11    admiEted wiuhouE objection,
12                              (stsate's ExhibiE No.      23

13                              was received     in evidence)
1_4   BY   . TR]MBIJE :
           MR

15         O, Sir, you and I have had a couple of
16    opporEunit.ies Eo Ea1k, is tshaE correcE?
17         A. Yes. eir.
18         A, And you had a coup)-e of opporEupiEies or                             more

19    than a couple of opportunities Eo speak tso some
20    BalE.imore CounEy deEectives?
,1              A.     Yes, sir.
                0.     But you do not have any BalEimore               CounEy

23    charges; do        you?

24              A,     I have a convicEion from Baltimore county.
25              O,     BuE you don't have anytshing pending?
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                                                                  L8


 1              oh, no, no, I don't have no chargea pending.
               A.
 2             And tshere are no agreementa between Baltimore
               O.
 3   County, eltsher the State's At,torxrey'a Offlce or the
 4   police departnent, for you tso come here and teseify, iE
 5   there?
 6             A.   No, slr.
 7             A.   Thank you.
 8                  MR. TRIMBLE; ThaE's     that,'s all the   questsione
 9   I have for !!r. Smlth.
10                  THE COIJRT: CToEg?
11                             CROSS EXAMINATION

12   BY   MR   . C!LEtt!Al{:
13             O. 'Mr. 9mith, you aaid you     kuow   Mr. Campbell; ie
L4   that correct?
15        A. I Eaid I met hlm twLce ,
15        O. You met hlm twice?
L7        A. Yee, sir.
18        A. And where did you meet him again?
19        A. I met him in East Rock.
20        O. In EaaE Rock?
2L        A. Yee, eLr.
22        O, Do you recaLl eeelng him ln Cove VJ.Ilage on
23   sepEember -- no, Augusts the 29th ot 2oo4?
24        A. ' No, I never seen hlm In Cove Vi11age. I only
25   Eeen him i.n Eaa! Rock twtce. I never seen him nowhere
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                                                                      19


 1    else,
 2                    MR. COI-,EMAN:   Okay, No further questions.
 3                    THE COURT: Redirect?
 4                              REDTRECT EXAMINATION

 5    BY MR.       TRIMBL,E :

 6            O. Mr. Smith, were you ever -- weII, were you in
 7    Cove    Village on AuguE, t. 29t}], 2004?
 I            A.      NO,

 9            O.      Do you remember Ehe incidenE aE Cove Village
10    AuguBE 29E}:, 2OO4?
11             Yes, I remember Dez telling me about it.
              A,
L2             OEher than him talking tso you, did you have
              O.
13    any personal knowledge of tshe event.s that nighE?
L4         A. No, I definitely waan't, I definiEefy, only
l_5   thing I know is what Dez told me, That is only t.hing I
16    know. I waEn't personally lnvolved or anyEhing.
L7              MR. TRIMBLE: Thank you. No furE.her
18    queeEions.
19                    THE COURT: ReCTOS6?
20                   'MR.   COLEMAN: No queet,   j.ons, Your Honor.
2t                    THE CoURT: Thank you.
22                     (Excerpt concluded)
23

24

25
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                                                           20


 1                     TRANSCRIBER'   S   CERTIFICATE

 2

 3       I hereby certify thats tshe foregoing proceedinge in
 4 the matter of state of Maryland vs. Tyrone Campbell,

 5 CaEe Number K-15-?125, heard in the Circuit Court for

 6 BalEimore County, Maryland on May 10, 2015 , vrere
 7 dlgltsaly recorded.

 I       I further certsify that, E.o the beet of my
 9 knowledge and belief, page numbers one through 19
10 constituEes a Erue and correct EranscripE of Ehe

11   proceedings   .


L2

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L5                                    Transcriber
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